          Case 1:19-cv-00908-LY Document 16 Filed 12/19/19 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

       LUCAS CRANOR, individually and on             )
       behalf of all others similarly situated,      )
                                                     )
                              Plaintiffs,            )       Case No. 1:19-cv-00908-LY
                                                     )
               v.                                    )
                                                     )
       5 STAR NUTRITION, LLC.,                       )
                                                     )
                              Defendant.             )


                                         NOTICE OF APPEAL

       Notice is hereby given that Lucas Cranor, the Plaintiff and proposed class representative

in the above named putative class action, hereby appeals on behalf of himself and all others similar

situated to the United States Court of Appeals for the Fifth Circuit from the final judgment entered

in this action on the 27th day of November 2019 and from the Order Granting Defendant’s Rule

12b(1) Motion to Dismiss with prejudice entered in this action on the 27th day of November 2019.

Lucas Cranor is qualified to bring the appeal as the proposed representative of the class.

       Dated: December 19, 2019.

                                                             Respectfully submitted,


                                                             /s/ Keith J. Keogh
                                                             Keith J. Keogh
                                                             IL Bar #: 6257811
                                                             Keogh Law, Ltd.
                                                             55 W. Monroe St., Suite 3390
                                                             Chicago, IL 60603
                                                             (312) 726-1092
                                                             (312) 726-1093 (fax)
                                                             keith@keoghlaw.com

                                                             Ben Bingham
                                                             TX Bar #: 02322350
                                                     1
          88699
          Case 1:19-cv-00908-LY Document 16 Filed 12/19/19 Page 2 of 2




                                                          Bingham & Lea, P.C.
                                                          319 Maverick Street
                                                          San Antonio, TX 78212
                                                          210-224-1819 (Phone)
                                                          210-224-0141 (Fax)
                                                          Ben@Binghamandlea.com


                                                          Attorneys for    Plaintiff   and    the
                                                          Putative Class




                                   CERTIFICATE OF SERVICE

              I hereby certify that on December 19, 2019 I filed the above Notice of Appeal
through the Court’s CM/ECF System, which served a copy on all parties of record.

                                                          /s/ Keith J. Keogh
                                                          Keith J. Keogh




                                                  2
          88699
